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Attorneys for Tort Claimants Cornmittee

lN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF OREGON

In re ) Case No. 04-37154-elpl 1
)
ROMAN CATHOLIC ARCHBISHOP OF ) TORT CLAIMANTS COMMITTEE'S
PORTLAND IN OREGON, AND ) OPPOSITI()N T 0 DEBTOR’S
SUCCESSORS, A CORPORATION SOLE, ) M()TION FOR AN ORDER
dba the ARCHDIOCESE OF PORTLAND ) (1) FIXING A BAR DATE AND
IN OREGON, ) (2) APPROVING A PROOF OF
) CLAIM, BAR DATE NOTICE,
Debtor. ) NOTICE PROCEDURE, AND MEDIA
) NOTICE PROGRAM

 

I. INTRODUCTION

The Roman Catholic Archbishop of Portland in Oregon, and Successors, a
corporation sole, dba the Archdiocese of Portland in Oregon ("Debtor") has proposed fixing a
bar date for tort claimants to file proofs of c1aim, a notice and c1aim form to be sent to known
claimants, and a media program to provide constructive notice to unknown claimants
Debtor's approach to these issues raises serious due process concerns To the extent Debtor
seeks certainty and finality, its current approach will not achieve those goals

First, Debtor must satisfy its obligations to ascertain its known claimants

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(1) FIXING A BAR DATE AND (2) APPROVING A PR()OF OF CLAIM, BAR DATE NOTICE,
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Second, it must give actual formal notice to reasonably ascertainable claimants Third,
Debtor must undertake efforts to provide unknown claimants reasonable constructive notice
and a reasonable opportunity to present claims To the extent it is unwilling or unable to do
so-~and the Tort Claimants Committee (the "Committee") acknowledges the difficulties
presented in giving meaningful notice to those who were sexually abused as children»--f`uture

claimants will not be barred. The Committee suggests an alternate approach.

II. DUE PROCESS MANDATES NOTICE REASONABLY CALCULATED 'I`O
INFORM P()TENTIAL CLAIMANTS

The Fif°ch Amendment provides that no persons shall be deprived of property
without due process of law. U.S. Const. amend. V. An elementary and fundamental
requirement of due process in any proceeding accorded finality is notice reasonably
calculated, under all the circumstances, to apprise interested parties of the pendency of the
action and afford them an opportunity to present obj ections. Mullane v. Central Hanover
Bank & Trusl, 339 U.S. 306, 314 (1950) (emphasis added). Although Mullane is not a
bankruptcy case, it sets the standard for the notice required under the Due Process Clause in
Chapter ll bar date cases. Chemetron Corp. v. Jones, 72 F.3d 341, 346 n.l (3rd Cir. 1995),
cert. denied 517 U.S. 1137 (1996).

Bankruptcy law divides creditors into two categories for the purpose of
determining what constitutes proper notice of an upcoming bar date: known and unknown
Due process requires that the debtor's known creditors be given actual notice of the bar date.
See Cin ofNew York v. New York, New Haven & Hartford R.R., 344 U.S. 293 (1953).
Unknown creditors are entitled to something less. ln the ordinary case, constructive

notification by publication will often suffice. Chemetron, 72 F.3d at 346.

A. DEBTOR HAS AN OBLIGATIGN TO REASONABLY ASCERTAIN
CLAIMANTS.

A "known" creditor includes both claimants whose identities are actually

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known to the debtor and those claimants whose identities are "reasonably ascertainable." See
Tulsa Professional Collectz`on Serv., lnc. v. Pope, 485 U.S. 478, 490 (1988). A creditor's
identity is "reasonably ascertainable" if the creditor can be identified through "reasonably
diligent efforts." Mennonite Board of Mz`ssions v. Adams, 462 U.S. 791, 798 n.4 (1983).
Reasonable diligence does not require "impracticable and extended searches . . . in the name
of due process." Mullane, 339 U.S. at 317. A debtor need not search out each conceivable or
possible creditor and urge the person to file a claim. In re Charter Co., 125 B.R. 650, 654
(M.D. Fla. 1991). lnstead, the requisite search focuses on the debtor's own books and
records At a minimum, a debtor needs to make a careful examination of its own documents
to ascertain its creditors Chemetron, 72 F.3d at 347. Claimants identifiable through a
diligent search are reasonably ascertainable and, therefore, "known."

Reasonable diligence in ferreting out known creditors is an inherently fact~
based inquiry. In some situations, creditors may be reasonably ascertainable even though not
identifiable through the debtor's own books and records Id. at 347 n.2. What is certain in
this case is that this Debtor has not yet done enough. To date it has identified in its filings
and schedules only those creditors who had pending lawsuits when Debtor filed this case. At
the same time, Debtor has freely acknowledged that it knows of potential claimants that it has
not yet listed in its schedules Privately, Debtor says that it is compiling some sort of
confidential list,l Debtor's limited approach to date is clearly insufficient

Debtor has speculated that many potential claimants have chosen not to come
forward and do not want to be identified Regardless, they must be given formal notice if
Debtor wants finality. The Ninth Circuit applied these principles in In re Maya Construction

Co., 78 F.3d 1395 (9th Cir.), cert. denied 519 U.S. 862 (1996). Maya Construction placed

 

1 Susan Ford letter to Albert Kennedy dated November 2, 2004 noting "Debtor currently has
an initial list, and will continue to amend that list until Debtor's review of its records is
complete

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contaminated fill dirt on Levin's land, and Levin's lawyer subsequently demanded that Maya
hold Levin harmless from all consequences Levin apparently indicated that he did not
intend to sue; when Maya Construction filed for reorganization on Chapter 11, it did not list
Levin as a creditor. ln a subsequent dispute, the Ninth Circuit held that Levin was a known
contingent creditor. He had been denied formal notice and opportunity to obj ect. Therefore,
he was not bound by the debtor's reorganization plan.

Maya Constructz`on illustrates that it is the debtor's knowledge of the creditor
and not the creditor's state of mind concerning his claim, that controls whether the debtor has
a duty to list the creditor on its schedules Id. at 1398. The debtor's duty is not obviated by
the fact that a contingent creditor does not presently intend to sue. The creditor could learn
more or change his mind and, accordingly, is a known claimant entitled to actual formal
notice.

A wide variety of circumstances can make a creditor ascertainable and,
therefore, "known.” Contingent claimants are known when they have written the debtor
suggesting debtor's responsibility for damages Solow Building Co. v. A. T.C. Associates,
Inc., 175 F. Supp. 2d 465 (E.D.N.Y. 2001) (CEO wrote project manager it would hold debtor
responsible for any damages caused by failure to properly control asbestos). In re Feldman,
261 B.R. 568 (E.D.N.Y. 2001) (reasonable diligence revealing debtor's own records would
have revealed prior correspondence indicating assignment of judgment). Telephone inquiry
can make a claimant known. See Matter of Crystal Oil Co., 158 F.3d 291 (Sth Cir. 1998)
(telephone call from state regulator concerning contaminated property created question of
fact whether claimant was reasonably ascertainable when the debtor mistakenly concluded it
was not the property owner). Debtors may be required to review public records to determine
reasonably ascertainable creditors In re Argonaut Fz`nancial Servz`ces, Inc. , 164 B.R. 107
(N.D. Cal. 1994) (Argonaut could have easily learned of assignment from county deed

records and obtained list of assignees from third party or its own predecessor in interest.)

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This Debtor may be able to identify contingent claimants from the testimony given by the
survivors it has previously deposed or the lists of altar boys, students and youth who were
exposed to known pedophile priests

At a minimum, all individuals who have lodged informal complaints over the
years (oral or written) and all individuals who have been identified as victims through
Debtor's own internal investigations or as a result of defending prior lawsuits, should be

given actual formal notice of the proposed claims bar date.

B. DEBTOR MUST GIVE MEANINGFUL CGNSTRUCTIVE NOTICE
TO UNKNOWN CREDIT()RS

Debtor also has unknown creditors An "unknown" creditor is one Whose
interests are either conjectural or future, or although they could be discovered upon
investigation, they do not in the due course of business come to debtor's knowledge
Mullane, 339 U.S. at 317. Unknown creditors cannot be given actual formal notice, but
Debtor is still required to provide meaningful constructive notice reasonably calculated under
these circumstances to reach these contingent creditors and permit a reasonable time for them
to respond. Chemetron Corp. v. Jones, 72 F.3d at 346.

C. DEBTOR'S OWN CONDUCT HAS CREATED AN IMPAIRED

GROUP OF INTENDED RECIPIENTS THAT REQUIRE SPECIAL

EFFORTS TO NOTIFY

Actual formal notice has often been construed as notice by direct mail. See
Mennonite Board of Missions v. Adams, 462 U.S. 791, 800 (1983); Tulsa Professz`onal
Collections Serv. Inc. v. Pope, 45 U.S. 478, 490 (1988). But a direct mail notice to a
claimant's last known address does not necessarily comport with the requirements of due
process Adequacy of notice must always be evaluated by reference to the surrounding

circumstances As Mullane teaches:

[P]rocess, which is a mere gesture, is not due process The
means employed must be such as one desirous of actually

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ipforming the absentee might reasonably adopt to accomplish
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Mullane, 339 U.S. at 315 (emphasis added).

Particularly extensive efforts to provide notice may often be required when
the intended recipient is inexperienced or incompetent Mennonite Board of Missions. See
also Covey v. T own of Somers, 351 U.S. 141, 146-47 (1956) (written notice sent to an
incompetent taxpayer was inadequate); Um`ted Stales v. ] Toshiba Color Televisz`on, 213 F.3d
147 (3rd Cir. 2000) (notice to incarcerated prisoner requires more than simply proof of
mailing.); In re Grand Unz`on Co., 204 B.R. 864 (Bankr. D. Del. 1997) (mailing of bar date
notice to a personal injury claimant whose exclusive representation by counsel is specifically
known by the debtor is inadequate). Here, the contingent claimants are victims who have
been disabled by Debtor's own conduct lt is that disability~for which Debtor is
responsible--that makes it difficult to provide the type of notice and opportunity mandated
by the Fifth Amendment.

III. DEBTOR'S PROP()SED NOTICE AND CLAIMS PROCESS

Debtor has proposed a locally focused and accelerated notice process ln the
90-day period leading up to the bar date, Debtor would undertake a mailing and publication
procedure to provide actual and potential claimants with notice. lt would place a "plain
English" notice in newspapers diocesan publications the alumni newsletters of three
Catholic high schools, church bulletins, special websites, press releases and other media
venues Debtor would also post the notice in its parishes and missions, and it would attempt
to list the notice on the websites of two cleric abuse victim advocacy groups Because almost
all current tort claimants live in Washington and Oregon, Debtor plans to target these states
lt will make some effort elsewhere by printing the notice as a one-eighth page advertisement
in West Coast newspapers once a week for four consecutive weeks and taking unspecified

steps to provide nationwide publicity of the bar date and claims procedure. Debtor's Mot. of

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8/14/04 at 16-17; Debtor's Mot., Ex. 4, at 1-2 ("l\/ledia Notice Program”).

The notice would inform potential claimants that "[i]f you were abused or
suffered any injury by a priest or other person working in ministry for the Archdiocese of
Portland in Oregon or for a Catholic parish/school of the Archdiocese, you must act now to
preserve your rights" Claimants would be required to complete the proposed claim form,
which reads like a series of interrogatories and requests information about the persons
involved, the timing and nature of the activities for which the claimant is asserting a claim,
information about the injuries the date claimant first realized that he or she had sustained an
injury, information about the extent of damages and losses sustained, and information about
any professionals or others that the claimant has consulted regarding the injury and claim.
Debtor's Mot. Ex. 2 (proposed claim form) and Ex. 4, at 3 (proposed Legal Notice).2

A. DEBTOR'S PROPOSAL WILL NOT COMPLY WITH DUE PROCESS

Based on his experience in evaluating hundreds of clerical abuse victims,
Committee expert Dr. J on R. Conte has concluded that Debtor's proposal fails to recognize
well-established facts about the nature of childhood sexual abuse, its impact on victims when
they become adults and the complexity of the processes by which victims connect abuse and
injury. Declaration of J on R. Conte, Ph.D. (hereafter ”Conte Decl.") at 4.

First, victims of childhood abuse experience a wide range of psychological
symptoms, including cognitive distortions inability to maintain healthy relationships
intimacy disorders, depression and anxiety. However, many victims do not recognize the
origins of their symptoms Others have pushed their abuse from conscious memory and do

not become symptomatic until middle age.3 Some victims do not become symptomatic until

 

2 The Committee has developed a simple form of notice and claim form we think more
appropriate We have provided these to Debtor's counsel for discussion

3 ln Dr. Conte's experience, clerical abuse victims are particularly likely to "dissociate" from
their experience Some perpetrators instructed their victims to make confession to them for
the abuse, as if the children were the persons who sinned. Some victims reported the abuse

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they are directly confronted with the fact of their abuse, such as when their abuser is publicly
exposed4 Id. at 5~7.

Moreover, many victims do not readily connect their symptoms with the abuse
they experienced as children. lnstead, they attribute causality to factors that are unrelated to
their abuse, or they may even deny that they are suffering an injury. As Dr. Conte notes:

[u]nderstanding the connection between an event and an injury

. . . . requires some level of insight or appreciation that

behavior and other psychological processes are causally

associated with events that may not have been thought about

for years lt requires a degree of openness or willingness to

forgo cognitive processes such as defenses (e.g., denial) that

serve to protect the individual from acknowledging the

thoughts that cause anxiety (e.g., "my drinking really is a

problem and 1 am causing my wife and children worry when 1

drink.").

Id. at 9.

Finally, the scholarly literature on sexual abuse shows that social and cultural
barriers prevent many victims from stepping forward Some victims are embarrassed or
conflicted about their childhood abuse and are reluctant to disclose it. Some do not
understand what has happened to them to be "abuse" or its consequences to be "injury." A
boy who was genitally fondled, for example, might believe that "abuse" only involves oral-
genital contact. Another victim might understand that he is an angry person but not realize
that anger is a form of injury. Id. at 9-10. As a consequence, many victims do not disclose

their abuse unless they are asked "behaviorally specific" questions that avoid abstract labels

Id. at 11-12 (surnmarizing research on strategies for interviewing sexual abuse victims who

 

to an adult who disbelieved or even punished the child for saying bad things about a cleric.
ln these situations "denial, minimization, avoidance and rationalization become ways that
the child victim pushes the sexual abuse from conscious memory." Conte Decl. at 7.

4 For these reasons, Oregon law provides that the statute of limitations for child abuse claims
does not begin to run until the plaintiff discovers, or reasonably should have discovered, the
injury or the causal connection between the injury and the abuse. See Jasmin v. Ross, 177
()r. App. 210, 213-14 (2001), discussing O.R.S. § 12.117.

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initially fail to acknowledge their abuse).

The Supreme Court cautioned in Mullane that due process requires the use of
means "such as one desirous of actually informing the absentee might reasonably adopt to
accomplish it." 339 U.S. at 315. Debtor's proposed notice process will not satisfy due
process lt does not recognize, let alone accommodate, the difficulties of reaching its target
audience, many of whose members are ambivalent about disclosing their abuse, or perhaps
even unaware that they are qualified to file a claim. The accelerated nature of the notice
process and the imposition of an early bar date will not give conflicted or reluctant victims
sufficient time to decide whether or not to file a claim. Conte Decl. at 13. lndeed, for some
victims Debtor's publicity may be a trauma-inducing event that makes it even more difficult
to step forward Id. at 18-19. Debtor's proposal to place the notice in Western newspapers
and church publications will not reach victims who have left this region of the country,
distanced themselves from the Catholic church or religion alto gether, or simply do not read
the newspaper. Id. at 15. ln addition, the language of the proposed notice is so general, and
it will appear so briefly, that it is unlikely to reach victims who are avoidant, unaware or
dissociative. Id. at 14.

B. DUE PROCESS REQUIRES A LENGTHY AND GEOGRAPHICALLY
EXTENSIVE MEDIA CAMPAIGN THAT ACC()MMODATES THE
PSYCHOLOGY OF SEXUAL ABUSE VICTIMS
lt is possible to target the diverse_and dispersed-_population of potential

claimants in a manner that conforms with due process However, any plan that takes into
account the unique challenges of reaching sexual abuse victims will require considerable
time, effort and expense As Dr. Conte explains reaching potential claimants will require the
development of factually specific notices and their dissemination through a lengthy,
sophisticated media campaign involving printed advertisements widespread mailings and
public service announcements ("PSAS”). Id. at 14-16.

ln the first place, the campaign would require notices that can resonate With

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victims who do not regard what happened to them as "abuse" or ”injury," as well as stimulate
recall in victims who have pushed their abuse from conscious memory. The notices must
contain behaviorally specific language so that abuse victims "understand that . . . what
happened to them in childhood . . . is being addressed in the Notice." Id. at 14. The notices
should contain pictures of known pedophiles as they looked at the time of the abuse They
should reference specific parishes schools and institutions where the abuse took place, as
well as the timeframe when the offender was engaging in the abuse Id.

The notices and other aspects of the campaign would also need to address_
and help potential claimants overcome-the feelings of responsibility, confusion,
embarrassment and shame that prevent many clerical abuse victims from ever stepping
forward An advertising campaign in which clerical abuse victims reflected on their life
experiences and the social and emotional consequences of disclosing abuse would be helpful
in this regard lt would also be advisable to find a prominent and trusted spokesperson for
the entire campaign ln addition to printed notices it will be necessary to spread the
campaign's message through PSAs, which may be the only means of reaching abuse victims
who do not read the newspaper and do not receive direct notice from Debtor. Id. at 16.

ln addition, the campaign must address the needs of potential claimants who
experience trauma as a result of receiving notice At a minimum, the notices would need to
offer information about victim advocate and support groups that can provide assistance lt
would also be necessary to create a website that directs traumatized claimants to the
appropriate institutions and organizations Id. at 19.

Once Debtor develops appropriate notices advertisements web resources and
PSAs, it will be necessary to devise a dissemination strategy that is both "wide" and "deep."
Although Debtor has proposed a notice campaign that focuses on Washington and Oregon,
Dr. Conte has found that many abuse victims leave their home communities to avoid being

reminded of their childhood experiences Perversely, a notice campaign that focuses almost

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exclusively on the Pacific Northwest may fail to reach highly damaged victims who have
moved the furthest away. Debtor will therefore need to ensure that the campaign's scope is
national rather than merely regional Id. at 15.

Along with broad nationwide publicity, a reasonably effective campaign must
attempt to reach abuse victims directly. Parish, school and camp records will contain the
names and childhood addresses of potential claimants but this information is likely to be
outdated Because most potential claimants have established their own households notices
sent to their former residences would only reach their elderly parents who may be unwilling
to entertain the notion that their child was abused by a cleric.5 Id. at 18.

Finally, the campaign will not be effective unless the notices and PSAS run
frequently and for a lengthy period of time. Media experts have found that only 50 percent
of a typical audience recognizes and complies with the message of a PSA after hearing it
10 times lt is thus likely that the notice campaign will require even more frequent messages
because many members of its target audience are dissociative, ambivalent about disclosing
their abuse, or currently unable to connect their abuse to their injuries Id. at 16.

C. THE COMMITTEE'S PROPOSED MEDIA CAMPAIGN

The Committee has taken steps to develop a proposed media campaign
Dr. Conte has reviewed these initial efforts and concluded that as a general strategy, the
Committee's campaign is consistent with his initial Declaration. See Supplemental
Declaration of lon R. Conte, Ph.D., dated November __, 2004. The general content of
the campaign and associated printed materials prepared for distribution should be reviewed
by focus groups of survivors their families and researchers to ensure effectiveness The
media campaign should also be supplemented by a direct mailing to the general public or a

targeted mailing to Catholic families possibly exposed to priest sexual abuse,

 

5 ln any event, our society is so mobile that a large percentage of abuse victims' parents are
probably no longer at the addresses found in old parish, school and camp records

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lt would be extremely expensive to implement the necessary media campaign
in the geographic regions identified by Debtor.6 A narrower effort over a one-year period
focused on Oregon media markets could be accomplished at a cost of approximately
84-5 million See Committee's Victim Outreach Plan at 15.

IV. COMPLYING WITH THE REQUIREMENTS OF DUE PROCESS MAY NOT
BE POSSIBLE ABSENT APPOINTMENT OF A FUTURE CLAIMS
REPRESENTATIVE

The Committee recognizes the expense and difficulty of providing meaningful
notice that would satisfy due process As we noted in out Memorandum of July 30, 2004, the
Debtor itself has identified 37 priests accused of sexual misconduct, yet only six priests are
associated with the currently listed tort claimants The Committee believes that there are a
significant number of potential future claimants victims of prepetition conduct who have not
yet discovered (due to psychological repression of the abuse) the causal connection between
the abuse and their injuries See O.R.S. § 12.117. The Court should appoint a Future Claims
Representative, preferably as soon as possible As one bankruptcy judge noted in an early
asbestos case, appointment of such a representative "is the only means available to provide at
least minimum representation" to potential claimants who cannot be notified and perhaps
have not yet manifested injury. In re Forty-Eighi Insulations, Inc., 58 B.R. 476, 478 (Bankr.
N.D. lll. 1986); see also In re Eagle-Picher Indus., Inc., 203 B.R. 256, 261 (Bankr. S.D.
()hio 1996).

Debtor is far from insolvent, and the Committee has no reason at this juncture
to doubt Debtor's long-term ability to satisfy any tort claims that come to light in the future
A Future Claims Representative can protect the interests of these contingent claimants by
participating in the selection of a bar date, constructive notice procedures the estimation of

Debtor's future liability, and the development of a process for the disposition of such claims

 

6 The Committee's advisers estimate that an effective media campaign in the western United
States over a one-year period would likely cost over 837 million

Page 12 of 13 - TORT CLAIMANTS COMMITTEE'S OPPOSITION TO DEBTOR'S MOTION FOR AN ORDER

(1) FleNG A BAR DATE AND (2) APPROVING A PROOF OF CLAll\/l, BAR DATE NOTICE,
NOTICE PROCEDURE, AND MEDIA NOTICE PROGRAM
Tonkon Torp up

888 SW Fifth Avenue, Suite 1600
Port\and, Oregon 97204

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l when they do come to li ght.

2 V. CONCLUSION

3 For the foregoing reasons the Court should reject Debtor's proposed claim

4 form and notice program. A Future Claims Representative should be appointed and effective

5 notice procedures adopted

 

6 DATED this 15th day of November, 2004.
7 TONKON TORP LLP
8
9 By M ,W”/é::w 1
ALBERT N. KENNEDY, OSB . 142
10 Attorneys for Tort Claimants Committee

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Page 13 of 13 - TORT CLAH\/IANTS COMMITTEE'S OPPOSITI()N TO DEBTOR’S MOTION FOR AN ORDER
(l) FleNG A BAR DATE AND (2) APPROVING A PROOF OF CLAll\/l, BAR DATE NOTICE,
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CERTIFICATE OF SERVICE

l hereby certify that l served the foregoing TORT CLAIMANTS
COMMITTEE'S OPPOSITION TO DEB'I`OR'S M()TION FOR AN ORDER
(1) FIXING A BAR DATE AND (2) APPROVING A PRG()F OF CLAIM, BAR DATE
NOTICE, NOTICE PROCEDURE, AND MEDIA NOTICE PROGRAM on the parties
on the attached List of lnterested Parties by:

§ mailing a copy thereof in a sealed, first-class postage prepaid envelope,
addressed to each party's last-known address and depositing in the U.S. mail at Portland,
Oregon on the date set forth below;

\:] causing a copy thereof to be hand-delivered to each party at each party's
last-known address on the date set forth below;

[:] sending a copy thereof via overnight courier in a sealed, prepaid envelope,
addressed to each party's last-known address on the date set forth below;

1:] faxing a copy thereof to each party at such party's last-known facsimile
number on the date set forth below; or

13 e-mailing a copy thereof to each party at such party's last-known e-mail
address on the date set forth below.

DATED this 15th day of November, 2004.
TONKON TORP LLP

By %%/’£ %M%

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Page 1 of 1 - CERTIFICATE OF SERVICE

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